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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                                       Chapter 11
    In re:

    MOUNTAIN EXPRESS OIL COMPANY, et al.,                              Case No. 23-90147 (DRJ)

                                      Debtors. 1                       (Jointly Administered)



    STIPULATION AND AGREED INTERIM ORDER (A) AUTHORIZING THE USE OF
      CASH COLLATERAL, (B) PROVIDING ADEQUATE PROTECTION, AND (C)
                     MODIFYING THE AUTOMATIC STAY


             This stipulation and agreed order (the “Stipulation”) is made and entered into by and among

Janet S. Northrup as the Chapter 11 Trustee (the “Trustee”) of the debtors in the above-captioned

cases (collectively, the “Debtors”) and First Horizon Bank as Administrative Agent (the “DIP

Agent,” and collectively with the Trustee, the “Parties”). The Parties hereby stipulate and agree

as follows:

                                                    RECITALS

             WHEREAS, on March 18, 2023 (the “Petition Date”), the Debtors each commenced with

this Court a voluntary case under chapter 11 of the Bankruptcy Code.

             WHEREAS, on March 20, 2023, the Debtors filed the Debtors’ Emergency Motion for

Entry of Interim and Final Orders (A) Authorizing the Use of Cash Collateral, (B) Providing




1     A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      claims and noticing agent at www.kccllc.net/mountainexpressoil. The location of Debtor Mountain Express Oil
      Company’s principal place of business and the Debtors’ service address in these Chapter 11 Cases is 3650 Mansell
      Road, Suite 250, Alpharetta, GA 30022.


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Adequate Protection, (C) Modifying the Automatic Stay, and (D) Scheduling a Final Hearing

[Docket No. 7] (the “First Cash Collateral Motion”).

        WHEREAS, on March 20, 2023, the Court entered its Interim Order (A) Authorizing the

Use of Cash Collateral, (B) Providing Adequate Protection, (C) Modifying the Automatic Stay,

and (D) Scheduling a Further Hearing [Docket No. 37] (the “First Interim Cash Collateral

Order”), approving the First Cash Collateral Motion and the Debtors’ use of Cash Collateral, all

as more fully set forth therein.

        WHEREAS, on March 23, 2023, the Court entered its Interim Order Pursuant to 11 U.S.C.

§§ 105, 361, 362, 363, 364, and 507, Bankruptcy Rules 2002, 4001, 6004, and 9014, and Local

Rule 4001-2 (I) Authorizing the Debtors to Use Cash Collateral and Obtain Post-Petition

Financing, (II) Granting Liens and Providing Super-Priority Administrative Expenses Status, (III)

Granting Adequate Protection, (IV) Scheduling a Final Hearing, and (V) Granting Related Relief

[Docket No. 117].

        WHEREAS, on April 25, 2023, this Court entered its Final Order Pursuant to 11 U.S.C.

§§ 105, 361, 362, 363, 364, and 507, Bankruptcy Rules 2002, 4001, 6004, and 9014, and Local

Rule 4001-2 (I) Authorizing the Debtors to Use Cash Collateral and Obtain Post-Petition

Financing, (II) Granting Liens and Providing Super-Priority Administrative Expense Status; (III)

Granting Adequate Protection; and (IV) Granting Related Relief [Docket No. 332] (the “Final

DIP Order”).

        WHEREAS, on July 19, 2023, the Court approved a further extension of post-petition

credit pursuant to the Order Approving Second Amendment to Senior Secured, Super-Priority

Debtor In-Possession Credit Agreement [Docket No. 1042].




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           WHEREAS, on August 5, 2023, the Debtors filed an Emergency Amended Motion of

Debtors for Entry of Interim and Final Orders (A) Authorizing the Use of Cash Collateral, (B)

Providing Adequate Protection, (C) Modifying the Automatic Stay, and (D) Scheduling a Final

Hearing [Docket No. 1196].

           WHEREAS, on August 8, 2023, the DIP Agent authorized the entry of an Interim Order

(A) Authorizing the Use of Cash Collateral, (B) Providing Adequate Protection, and (C) Modifying

the Automatic Stay [Docket Nos. 1223].

           WHEREAS, following an unsuccessful sales process, on August 16, 2023, the DIP Agent

filed, DIP Agent’s Emergency Motion to Appoint Chapter 11 Trustee, or in the Alternative,

Convert These Chapter 11 Case to Case Under Chapter 7 [Docket No. 1280].

           WHEREAS, on August 17, 2023, following the Court’s Order Directing the Appointment

of a Chapter 11 Trustee [Docket No. 1284], the United States Trustee filed a Notice of Appointment

of Chapter 11 Trustee [Docket No, 1286], and appointed Janet S. Northrup to serve as the chapter

11 trustee in the above-captioned cases.

           WHEREAS, the Trustee requires authority to use cash collateral to preserve the Debtors’

estates.

           WHEREAS, the Trustee and the DIP Agent have agreed to entry of this Stipulation and

Agreed Order granting the Trustee’s authority to use cash collateral in accordance with the Budget

as detailed herein.

           THEREFORE, IT IS HEREBY STIPULATED AND AGREED, AND UPON

APPROVAL BY THE COURT OF THIS STIPULATION AND AGREED ORDER, IT IS

SO ORDERED as follows:




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        1.      Jurisdiction and Venue. This Court has jurisdiction over this matter pursuant

to 28 U.S.C. § 1334. This matter is a core proceeding within the meaning of 28 U.S.C.

§ 157(b)(2). The Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation of this Stipulation and Agreed Order.

        2.      Authorization to Use Cash Collateral. Subject to the terms of this Stipulation,

the Trustee is hereby authorized to use Cash Collateral, with the consent of the DIP Agent,

for the period (the “Interim Budget Period”) set forth in the budget attached hereto as Exhibit

1 (the “Budget”), or for such further period or pursuant to such further form of Budget as the

Trustee and the DIP Agent may agree to in writing.

        3.      Disbursements Subject to Budget. The Trustee is only authorized to use Cash

Collateral during the Interim Budget Period in a manner consistent with the Budget. The

Trustee is not permitted to use Cash Collateral for the payment of any professional fees except

as may be provided for in the Budget, and shall not pay any professional fees that accrued

prior to her appointment. The DIP Agent’s superpriority, priming liens shall attach to, without

limitation, all amounts held by payroll processors that are not paid to employees for earned

wages, benefits, and applicable taxes.

        4.      Adequate Protection. The DIP Agent shall continue to have the benefit of its

postpetition liens and superpriority claims under the Final DIP Order.

        5.      Termination. The Trustee’s ability to use Cash Collateral pursuant to this

Stipulation shall end upon expiration of the Budget on September 1, 2023, unless otherwise

agreed by the DIP Agent.




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        6.       Use of Cash Collateral to Purchase Fuel. The Trustee is authorized to use Cash

Collateral to make postpetition purchases of fuel from the Fuel Suppliers2 pursuant to this

Interim Order and in accordance with the Budget on reasonable business terms and conditions

(including pursuant to any existing agreements between the Debtors and a Fuel Supplier).3

No party-in-interest in these chapter 11 cases and/or any successor thereto shall be entitled to

assert any claim against any Fuel Supplier or any affiliate thereof for the recovery of funds

paid by the Trustee to such Fuel Supplier for the purchase of fuel pursuant to this Interim

Order under section 549 of the Bankruptcy Code on the basis that such funds constitute the

Cash Collateral of any party; provided, however, that if the Trustee uses Cash Collateral

outside of the Budget to pay any Fuel Supplier, any such Fuel Suppliers shall be subject to

claims under section 549 of the Bankruptcy Code. Nothing in this Order shall alter, impair,

condition, limit, release or otherwise prejudice or diminish any setoff, recoupment, or similar

rights held by Fuel Supplier against the Debtors, the Debtors’ estates, or any collateral or

credit assurance provided to any Fuel Supplier by or on behalf of the Debtors. All such rights

are hereby preserved.

        7.       Preservation of Rights Granted Under This Interim Order. The liens and

claims granted by the provisions of this Interim Order shall survive, and shall not be modified,

impaired or discharged by (i) the entry of an order converting any of these chapter 11 cases




2   The Fuel Suppliers include, but are not limited to, ExxonMobil Oil Corporation; Valero Marketing and Supply
    Company; Sunoco, Inc.; CITGO Petroleum Corporation; BP Products North America, Inc.; Chevron Products
    Company; HF Sinclair Refining and Marketing LLC; Marathon Petroleum Company; Equilon Enterprises LLC;
    Motiva Enterprises LLC; Protec Fuel Management, LLC; Gulf Oil LP; Pilot Travel Centers LLC; and each of the
    foregoing parties’ respective affiliates.
3   For the avoidance of doubt, the reference to “Net Fuel Profits” in the Budget includes postpetition purchases of
    fuel from the Fuel Suppliers, net of expenses.
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to a case under chapter 7 or dismissing such chapter 11 case, or (ii) the entry of an order

confirming a chapter 11 plan in these chapter 11 cases.

        8.      Binding Effect; Successors and Assigns. The provisions of this Interim Order,

shall be binding upon all parties in interest in these chapter 11 cases, including, without

limitation, the Trustee, the DIP Lenders, the Committee, and the Debtors, and their respective

successors and assigns.

        9.      Reservation of Rights. The Trustee reserves all rights to seek other or additional

use of Cash Collateral on such further or different terms and conditions as may be approved

by the Court, and the DIP Agent reserves all rights to object and to seek other or additional

relief. Nothing herein shall prejudice any party’s rights under the Final DIP Order or

otherwise.

        10.     Effectiveness.    Notwithstanding Bankruptcy Rules 4001(a)(3), 6004(h),

6006(d), 7062, or 9024 or any other Bankruptcy Rule, or Rule 62(a) of the Federal Rules of

Civil Procedure, this Interim Order shall be immediately effective and enforceable upon its

entry and there shall be no stay of execution of effectiveness of this Interim Order as provided

in such Rules. This Interim Order shall be valid, binding, and enforceable on all parties in

interest and fully effective immediately upon entry.


Dated: ____________, 2023

                                             DAVID R. JONES
                                             UNITED STATES BANKRUPTCY JUDGE




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AGREED BY:

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 Proposed Counsel for the
 Chapter 11 Trustee, Janet Northrup




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                                  EXHIBIT 1


                                   (Budget)




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Cash Collateral Budget: WE 8.25 ‐ WE 9.1
2‐Week Cash Collateral Budget                                               Week 1         Week 2
Mountain Express Oil                                                       Forecast       Forecast
($ in '000s)                                                              25‐Aug‐23       1‐Sep‐23
Operating Receipts
 Net Fuel Profit                                                      $       (2,409) $         219
 Rent Income                                                                      ‐              ‐
 Net Retail Supporting Operations                                                 60             60
 Other Receipts                                                                   ‐              ‐
Total Operating Receipts                                              $       (2,349) $         279
Operating Disbursements
 Rent Expense                                                                     ‐               ‐
 Payroll & Benefits [1]                                                           ‐           (1,164)
 Vendor Disbursements                                                         (1,044)         (1,102)
 Utilities & Insurance                                                            (3)           (424)
 Tax                                                                            (928)           (928)
 Other Operating Disbursements                                                    (8)             (8)
Total Operating Costs                                                 $       (1,982) $       (3,625)
Operating Cash Flow                                                   $       (4,332) $       (3,347)
Restructuring Related
 Restructuring Fees [2]                                                         (294)          (294)
 DIP Interest & Fees                                                              ‐              ‐
 UST Bond                                                                       (160)            ‐
 Letters of Credit                                                                ‐              ‐
Total Restructuring Related                                           $         (454) $        (294)
Net Cash Flow                                                         $       (4,786) $       (3,641)
Cash (Unrestricted)
 Beginning Balance                                                    $        2,895 $         1,609
 Net Cash Flow                                                                (4,786)         (3,641)
 (+) Incremental Funding Need for Operations                                   3,500           3,500
Ending Unrestricted Cash Balance                                      $        1,609 $        1,468



[1]: Payroll amounts cover accrued employee obligations through 9/1
[2]: Includes Chapter 11 Trustee fees (HWA and FTI)
